                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                              CIVIL NO. 5:12CV156-RLV
                               (5:08-cr-28-RLV-DSC-5)

TRACY BERNARD REDFEAR,              )
                                    )
                        Petitioner, )
                                    )
            vs.                     )                         ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                        Respondent. )
___________________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence filed under 28 U.S.C. § 2255, (Doc. No. 1). For the reasons that follow, the

Court grants the motion and Orders a resentencing hearing for Petitioner.

       1. BACKGROUND

       Petitioner Redfear was indicted on July 22, 2008, and charged with conspiracy to possess

with intent to distribute powder and crack cocaine and marijuana, in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(A), and 846. A week later, the Government filed a notice pursuant to 21 U.S.C.

§ 851, notifying the Court and Petitioner that it intended to seek enhanced penalties based on

Petitioner’s prior convictions for felony drug offenses. On September 2, 2009, Petitioner

pleaded guilty to the conspiracy offense and stipulated that he was responsible for at least fifty

and less than 150 grams of crack. Pursuant to the plea agreement, the Government withdrew all

but one enhancement, and at the time the plea agreement was formed, the enhancement subjected

Defendant to a mandatory statutory minimum sentence of 240 months.

       During Petitioner’s sentencing hearing on October 6, 2010, the Court granted the


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Government’s Motion for Downward Departure, filed pursuant to 18 U.S.C. § 3553(e) and

U.S.S.G. § 5K1.1. The Court imposed a sentence of 92 months’ imprisonment, which was 38%

of this 240-month mandatory statutory minimum. Applying the Fair Sentencing Act of 2010

(“FSA”), Pub. L. No. 111-220, 124 Stat. 2372, to Petitioner’s circumstances, in light of the

enhancement, Defendant would face a mandatory minimum sentence of 120 months. See 21

U.S.C. § 841(a)(1)(B). On June 21, 2012, the Supreme Court issued Dorsey v. United States,

132 S. Ct. 2321 (2012), holding that the FSA’s lower mandatory minimum penalties apply to

those offenders whose crimes preceded the effective date of the Act but who were sentenced

after that date.

        On February 16, 2012, Petitioner filed a motion through counsel to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(2) on the basis of Amendment 750 to the United States

Sentencing Guidelines applicable to crack cocaine offenses. Following the Government’s

response in opposition, this Court denied Petitioner’s motion on April 24, 2012. On July 3,

2012, the probation office issued a Revised Supplemental Presentence Report following the

Dorsey decision, stating that Petitioner is eligible for a reduction in his sentence to time served.

        On September 10, 2012, the Government filed a Response to the Revised Supplemental

Presentence Report. In the Response, the Government acknowledged that, pursuant to Dorsey,

this Court at sentencing should have applied the ten-year mandatory minimum set forth in the

FSA, but the Government stated that the appropriate vehicle for a reduction in sentence was

through a § 2255 motion to vacate. See (Doc. 203 at 3). On September 10, 2012, Petitioner filed

his own Response to the Revised Supplemental Presentence Report, in which he contends that he

is eligible to a revised sentence of 46 months as calculated in the Revised Supplemental

Presentence Report.
                                                  2



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          On October 15, 2012, this Court entered a sua sponte Order, concluding that if Petitioner

were to file a motion to vacate, the Court would be inclined to grant such motion and re-sentence

Petitioner to a term of 46 months’ imprisonment. (Doc. No. 211).

          On October 15, 2012, Petitioner filed the pending § 2255 motion to vacate.

   II.       DISCUSSION

   As noted, in response to Petitioner’s Motion to Reduce Sentence under 18 U.S.C. §

3582(c)(2), the Government acknowledged that, pursuant to Dorsey, this Court at sentencing

should have applied the ten-year mandatory minimum set forth in the FSA. See (Doc. 203 at 3).

Given this concession by the Government, the Court therefore grants Petitioner’s Motion to

Vacate and the Court will set this matter on the calendar for resentencing.

   III.      CONCLUSION

          For the foregoing reasons, the Court GRANTS Petitioner’s Section 2255 Motion to

Vacate. The Clerk shall set this matter on the Court’s calendar for resentencing.

          IT IS, THEREFORE, ORDERED that:

          1. Petitioner’s Motion to Vacate, (Doc. No. 1), is GRANTED.

          2. The Clerk is instructed to place this matter on the calendar for resentencing of

             Petitioner.

          3. The Clerk is instructed to terminate this action.



                                           Signed: April 4, 2013




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